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                             IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF IDAHO

ST. LUKE’S HEALTH SYSTEM, LTD.,                    Case No. 1:25-cv-00015-BLW

                       Plaintiff,                  ST. LUKE’S HEALTH SYSTEM, LTD.’S
                                                   MEMORANDUM REGARDING
         v.                                        DEFENDANT’S PRIVILEGE LOG

RAÚL LABRADOR, Attorney General of the
State of Idaho,

                       Defendant.


         The parties have submitted competing proposals in their discovery plans concerning the

scope of communications exempt from their privilege logs. Compare St. Luke’s Proposed

Discovery Plan (Dkt. 54), with Attorney General’s Proposed Discovery Plan (Dkt. 57). St. Luke’s

submits this memorandum in support of its position.
ST. LUKE’S HEALTH SYSTEM, LTD.’S MEMORANDUM REGARDING DEFENDANT’S
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         Under the standard rule, a privilege log is always required, no matter how burdensome.

Federal Rule of Civil Procedure 26(b)(5) requires a party asserting a privilege to (i) expressly make

such a claim, and (ii) describe the nature of the documents, communications, or tangible things not

produced or disclosed in a manner that will enable other parties to assess the claim. F.R.C.P.

26(b)(5)(ii). In the District of Idaho, parties submitting a joint discovery plan may consent to a

deviation from this rule by agreeing that “[c]ommunications involving trial counsel that post-date

the filing of the complaint need not be placed on a privilege log.” See, e.g., St. Luke’s Proposed

Discovery Plan (Dkt. 54). This is an exception to Rule 26(b)(5) and is rooted in the premise that

once litigation begins, communications between trial counsel and her client are plainly for the

purpose of seeking and providing legal advice, rendering the privilege log requirement

unnecessary.

         Here, the Attorney General seeks to force St. Luke’s to forgo a privilege log for a period

of nearly 2.5 years during which he was not even a party to the relevant litigation. He asks this

Court to excuse him from identifying privileged communications between himself and trial

counsel in this case because of the existence of a prior case involving a different defendant—the

state itself—in United States v. Idaho, No. 1:22-cv-00329-BLW (D. Idaho). The Attorney General

asserts that requiring him to identify these communications on a privilege log would be unduly

burdensome. But his argument ignores that providing a privilege log in compliance with Rule

26(b)(5) is the rule, not the exception, and that communications between him and trial counsel

during that period may well not be privileged, both because the Attorney General was not a

defendant and because the communications may have related to matters of policy, politics, or other

topics entirely unrelated to legal advice. St. Luke’s, at a minimum, should receive sufficient

information to evaluate any privilege assertion—i.e., a privilege log.


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         The attorney-client privilege “protects confidential disclosures made by a client to an

attorney in order to obtain legal advice, . . . as well as an attorney’s advice in response.” United

States v. Ruehle, 583 F.3d 600, 607 (9th Cir. 2009). The privilege, however, is strictly construed.

Id. The party asserting the privilege bears the burden of proving that the withheld information is

indeed privileged. Id. at 607–08.

         The scope of the exception that the Attorney General seeks would significantly impair St.

Luke’s’ ability to evaluate the assertion of privilege for communications that predate this litigation.

St. Luke’s filed its complaint on January 15, 2025—nearly 2.5 years after the United States filed

its complaint in separate litigation on August 2, 2022. Although St. Luke’s and the United States

raised the same underlying legal claim, 1 St. Luke’s was not a party to the initial litigation, and thus

did not—and could not—agree to forgo a privilege log after the United States’ complaint was filed.

The defendant also is not the same in this case as in the prior case. St. Luke’s brings its lawsuit

specifically against the Idaho Attorney General, because, as Attorney General, Mr. Labrador has

the authority to enforce Idaho criminal statutes, including Idaho Code § 18-622. Planned

Parenthood Great Nw., Haw., Alaska, Ind., Ky. v. Labrador, 122 F. 4th 825, 842–43 (9th Cir.

2024). Thus, trial counsel’s communications with the Attorney General during the earlier case is

subject to a complicated privilege analysis. St. Luke’s should be able to evaluate the privileged

nature of the communications that predate this case.

         Moreover, trial counsel likely communicated with other, non-state defendants in United

States v. Idaho, communications subject to their own complicated privilege analysis. Specifically,

the state legislature and its leadership intervened in United States v. Idaho, and were represented



1
 Both actions assert that to the extent Idaho’s Total Abortion Ban, Idaho Code § 18-622, conflicts
with EMTALA, EMTALA preempts the Idaho statute. Compare Complaint (Dkt. 1) ¶ 6, with United
States v. Idaho, 623 F. Supp. 3d 1096, 1105 (D. Idaho 2022).
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by separate counsel, but have not intervened here. The common interest doctrine may or may not

protect communications among the defendants in the earlier litigation. The common interest doctrine

applies if “(1) the communication is made by separate parties in the course of a matter of common

interest; (2) the communication is designed to further that effort; and (3) the privilege has not been

waived.” Perez v. Clearwater Paper Corp., No. 3:13-CV-00461-BLW, 2015 WL 685331, at *2

(D. Idaho Feb. 17, 2015). However, the Ninth Circuit has interpreted the common interest doctrine

narrowly. In the Ninth Circuit, a “shared desire to see the same outcome in a legal matter is

insufficient to bring a communication between two parties” within the common interest doctrine.

In re Pac. Pictures Corp., 679 F.3d at 1129. Rather, “the parties must make the communication in

pursuit of a joint strategy in accordance with some form of agreement—whether written or

unwritten.” Id.

         If communications between the State and intervenors in the earlier case are relevant and

responsive to St. Luke’s yet-to-be-made discovery requests, St. Luke’s should have the opportunity

to evaluate whether the privilege applies to those communications. Absent a privilege log that

identifies those communications in the first instance, St. Luke’s is deprived of its ability to do so.

         St. Luke’s agrees that the parties’ privilege logs need not include communications between

the parties and their counsel that post-date St. Luke’s initiation of this action. But the Attorney

General’s counsel should not be relieved unilaterally from complying with Rule 26(b)(5) for a

nearly 2.5-year period when St. Luke’s was not party to litigation against it. That runs counter to

the default rule, and it should not be allowed without St. Luke’s’ consent.




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DATED: May 14, 2025                      STOEL RIVES LLP



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                                         Wendy J. Olson
                                         Alaina Harrington


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                                         /s/ Lindsay C. Harrison
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                                         Sophia W. Montgomery
                                         Ruby C. Giaquinto

                                         Attorneys for Plaintiff




ST. LUKE’S HEALTH SYSTEM, LTD.’S MEMORANDUM REGARDING DEFENDANT’S
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 14, 2025, I served a full, true, and correct copy of the
foregoing St. Luke’s Health System, Ltd.’s Memorandum Regarding Defendant’s Privilege
Log on the parties hereto in the manner set forth below:

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                                             /s/ Wendy J. Olson
                                             Wendy J. Olson




ST. LUKE’S HEALTH SYSTEM, LTD.’S MEMORANDUM REGARDING DEFENDANT’S
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